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                                                                     2012 Nov-24 AM 09:27
                                                                     U.S. DISTRICT COURT
                                                                         N.D. OF ALABAMA


                UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF ALABAMA
                      MIDDLE DIVISION


THE PRUDENTIAL INSURANCE    *
COMPANY OF AMERICA,         *
                            *
     PLAINTIFF,             *
                            *
v.                          *
                            *
NATHAN BEAN; E.B., A MINOR *
CHILD;EMILY TAYLOR,         *
ADMINISTRATOR OF THE ESTATE *
OF DORIS SIMMONS BEAN,      *
                            *
     DEFENDANTS.            *


                        GENERAL ACCOUNTING


     COMES NOW Trenton R. Garmon and does file this General
Accounting on behalf of Defendant, Nathan Bean. The
undersigned does confirm the following facts related to
this filing, to wit:

  1. On or about 4 October 2012 the Defendant tendered check
     number 0854 drawn on Branch Banking & Trust Company
     (dba BB&T) made payable to the Garmon Law Firm for
     thirty-five thousand dollars ($35,000.00).
  2. These funds were state by Nathan Bean to reflect the
     balance remaining of the Prudent Insurance Proceeds
     paid on the policy of Doris Bean.
  3. Said funds were deposited into the IOLTA Account or
     Trust Account of the Garmon Law Firm with Keystone Bank
     of Gadsden, Alabama on 05 October 2012.
  4. These funds remain held in trust with Keystone Bank.
  5. The Defendant was advised to create an accounting of
     which has been attached.
  6. A difference of eight thousand six hundred twenty one
     dollars and thirty one cents ($8,621.31) exist between
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   the thirty five thousand dollars ($35,000) tendered,
   the forty eight thousand one hundred twenty one dollars
   and nine cents ($48,121.09) itemized as spent and the
   ninety one thousand seven hundred forty two dollars and
   forty cents ($91,742.40) paid to Nathan Bean by
   Prudential.
7. Defendant Nathan Bean was advised to submit bank
   statements for the months of August, September and
   October of 2012 to counsel to account for the
   difference. Note, the Prudential check was issued on or
   about 23 August 2012.
8. Counsel for the Defendant has again confirmed these
   statements are needed and the Defendant has advised
   counsel he will be submitting such.
9. Notwithstanding the bank statements, the monies
   currently being held in trust are in fact thirty-five
   thousand dollars ($35,000.00) as indicated by the
   signed “Trust Deposit Accounting” and BB&T check drawn
   on the account of Nathan & Jennifer Bean.

  Submitted this the 24th day of November 2012.

                                    Respectfully Submitted,
                                    s/ Trenton R. Garmon
                                    Trenton R. Garmon (GAR093)
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                      CERTIFICATE OF SERVICE

       I hereby certify that I have served a copy of the
  foregoing upon counsel for the Plaintiff by way of
  electronic filing on and by way of direct email.

       Christopher C. Yearout, Esq.
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       400 20th Street North
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       Attorney for Plaintiff Prudential
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    Done this the 24th day of November 2012.

                                       s/ Trenton R. Garmon
